Case 2:04-cv-02198-BBD-dkv Document 31 Filed 05/31/05 Page 1 of 3 Page|D 28

FI!.E`D i`:i'i’ D.C.

05 ?;i£i`i" 31 Pi:i 61 56
IN THE UNITED STATES DISTRICT COURT
FOR WESTERN DISTRICT OF TENNESSEE ;1@§5

wEsTERN DIvIsION m

 
 
  

 

DIXIE ELECTRlCAL COMPANY,

Plaintiff, Case No. 04-2198 D

VS.

FASTEEL CORPORATION, et al.,

Defendants.

 

ORDER ADMINISTRATIVELY CLOSING CASE

 

lt appears to the court that the parties have notified the court that they have voluntarily non-
suited their claim; however, they are completing the paperwork to memorialize the resolution This
coun, therefore, will administratively close the above-captioned case pursuant to its inherent powers
as it appears that no further case administration is warranted at this time.

It is expressly emphasized that an order administratively closing a case is purely an
administrative device for the convenience of the court and in nowise affects the substantive and/or
procedural rights of the parties in interest to proceed before this court at a later date. To
administratively close a case merely means to close a case for statistical purposes in the office of the
District Court Clerk and the Adrninistrative Oft`lce of the United States Courts.

lt also is expressly emphasized that an administratively closed case can be easily reopened

by a simple order of the ouI"f ' i_¢‘,£_t_he e ' eopening filing fee should the case req 'r
Th`is ri-':- " "“""'* entered on the doc et s i_.

with F\L\l€a ec ; `"" 79(&) FHCP Ol`l M_L__m,_ 3/

   

Case 2:O4-cv-O2198-BBD-dkv Document 31 Filed 05/31/05 Page 2 of 3 Page|D 29

further administration Upon its reopening, the case then becomes, ipso facto, a statistically active
case and resumes the same status it had before the administrative closing without prejudice to the
rights of any party in interest Accordingly,

IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:

l. The Court Clerk is directed, consistent with the foregoing, to administratively close this
case in his records without prejudice to the substantive and/or procedural rights of any party in
interest to move at a later time to reopen the case for good cause, including the entry of any
stipulation or order, or for any other purpose required to obtain a final determination of pending
litigation

2. In the event a party in interest files a motion at a later time seeking to reopen this
administratively closed case, no reopening filing fee shall be required

3. The Clerk is expressly directed to docket any order of dismissal immediately upon receipt.

IT ls so oRl)ERED this,i’; day of 77?¢;/ ,2005.

MM

/tzERNICE B BENALD
UNITED sTATEs DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 31 in
case 2:04-CV-02198 was distributed by f`aX, mail, or direct printing on
June 6, 2005 to the parties listed.

ESSEE

 

Aaron R. Parker

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis

254 Court Ave.
Second Floor
l\/lemphis7 TN 38103

Robert E. Craddock

WYATT TARRANT & COl\/IBS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Scott B. Ostrow

WYATT TARRANT & COl\/IBS
P.O. Box 775000

l\/lemphis7 TN 38177--500

J. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Eric J. Plumley

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

